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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA,   )
                            )
      Plaintiff,            )               CIVIL ACTION NO. 2:20-cv-81
                            )
v.                          )
                            )
HELLER FAMILY MEDICINE LLC, )
and                         )
DR. JENNIFER HELLER, D.C.,  )
                            )
      Defendants.           )

      UNITED STATES’ MOTION TO ENTER CONSENT JUDGMENT

      The United States of America, by and through the undersigned, respectfully

moves this Court to enter the Consent Judgment attached hereto as Exhibit A. This

Consent Judgment resolves all claims between the Plaintiffs and Defendants.

      Dated: August 7, 2020

                                            Respectfully submitted,

                                            BOBBY L. CHRISTINE
                                            UNITED STATES ATTORNEY

                                            /s/ Jonathan A. Porter
                                            JONATHAN A. PORTER
                                            Assistant United States Attorney
                                            Georgia Bar No. 725457
                                            U.S. Attorney’s Office
                                            Post Office Box 8970
                                            Savannah, Georgia 31412
                                            Telephone: (912) 652-4422
                                            Email: Jonathan.Porter@usdoj.gov




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                            CERTIFICATE OF SERVICE

      I hereby certify that on August 7, 2020, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the counsel of record in this case.



                                                /s/ Jonathan A. Porter
                                                JONATHAN A. PORTER
                                                Assistant United States Attorney




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